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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

                                          :
Shawn Barony,                             :
                                          :
                                          : Civil Action No.: 8:11-cv-02949-DKC
                   Plaintiff,             :
        v.                                :
                                          :
Goldman, Roth Acquisitions, LLC; and DOES :
1-10, inclusive,                          :
                                          :
                   Defendant.             :


          NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                DISMISSAL OF ACTION WITHOUT PREJUDICE
                        PURSUANT TO RULE 41(a)


       Shawn Barony (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: March 22, 2012

                                             Respectfully submitted,
                                             By_/s/ Forrest E. Mays_________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2012, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the District of Maryland
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By_/s/ Forrest E. Mays____

                                                 Forrest E. Mays
